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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

CARLOS RAY FRAZIER                                                       PLAINTIFF
ADC #650936

vs.                              NO: 4:20-cv-00820-SWW-JJV

ADAMS; et al.                                                        DEFENDANTS

                                      ORDER

       The Court has reviewed the Proposed Findings and Recommended

Disposition submitted by United States Magistrate Judge Joe J. Volpe.             No

objections have been filed. After careful consideration, the Court concludes that

the Proposed Findings and Recommended Disposition should be, and hereby is,

approved and adopted in its entirety as this Court’s findings in all respects.

       IT IS, THEREFORE, ORDERED that:

       1.     Plaintiff’s official capacity claims are dismissed without prejudice for

failure to state a claim.

       2.     Plaintiff’s claims against Defendants Marshall, Elkin, Hickman,

Skillen, Coleman, Baker, Etherly, Smith, Gorman, Berry, Johnson, Iverson, Bruner,

Pugh, and Doe are dismissed without prejudice as improperly joined.

       3.     Defendants Marshall, Elkin, Hickman, Skillen, Coleman, Baker,

Etherly, Smith, Gorman, Berry, Johnson, Iverson, Bruner, Pugh, and Doe are

dismissed from this action.
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      4.    The Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an in forma

pauperis appeal from any Order adopting these recommendations and the

accompanying Judgment would not be taken in good faith.


      DATED this 20th day of October, 2020.



                                      /s/Susan Webber Wright
                                      UNITED STATES DISTRICT JUDGE




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